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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                  WESTERN DIVISION




 OGLALA SIOUX TRIBE and ROSEBUD                       CIV. 13-5020-JLV
 SIOUX TRIBE, as parens patriae, to
 protect the rights of their tribal
 members; MADONNA PAPPAN, and                            JUDGMENT

 LISA YOUNG,individually and on
 behalf of all other persons similarly
 situated,

                    Plaintiffs,

      vs.


LISA FLEMING and LAURIE GILL, in
their official capacities.

                    Defendants.



      Consistent with the court's order (Docket         ). it is

      ORDERED, ADJUDGED AND DECREED that judgment is entered in

favor of defendants Lisa Fleming and Laurie Gill and against plaintiffs.

      Dated January 16, 2020.

                                  BY THE COURT:



                                  JEFFRKTL. VIKEN
                                  UNITED STATES DISTRICT JUDGE
